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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff                     Case No. 15-20652

         v.                                 HON. GEORGE CARAM STEEH

D-1   BILLY ARNOLD,

         Defendant.
__________________________/


      NOTICE OF INTENT TO SEEK THE DEATH PENALTY

      The United States of America, by its attorneys, Matthew Schneider, United

States Attorney, Christopher Graveline, Assistant United States Attorney, and Julie

Finocchiaro and Justin Wechsler, Trial Attorneys – Department of Justice, pursuant

to Title 18, United States Code, Section 3593(a), hereby notifies the Court and

defendant Billy Arnold that, in the above-captioned case, the government believes

that the circumstances of the offenses charged in Counts 4, 5, 16, and 17 of the

Sixth Superseding Indictment are such that, in the event that the defendant is

convicted of committing any one, combination of, or all of these offenses, a

sentence of death is justified under Chapter 228 (Sections 3591 through 3598) of

Title 18 of the United States Code, and that the government will seek a sentence of



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death on each and all of these offenses. These offenses being: (1) murder in aid of

racketeering activity, aiding and abetting, which prohibited conduct resulted in the

deaths of D.P. (Count 4) and D.R.-1 (Count 16), both in violation of Title 18,

United States Code, Sections 1959(a)(l) and 2; and (2) use and carry of a firearm

during and in relation to a crime of violence, aiding and abetting, which prohibited

conduct resulted in the death of D.P. (Count 5) and D.R.-1 (Count 17), both in

violation of Title 18, United States Code, Sections 924(c); 924(j); and 2.

        The government proposes to prove the following statutory factors pursuant

to Title 18, United States Code, Sections 359l(a)(2) and 3592(c), as charged in the

Sixth Superseding Indictment’s Notice of Special Findings, hereby incorporated by

reference, and non-statutory factors pursuant to Title 18, United States Code,

Section 3593(a)(2), as justifying a sentence of death.

        A.    Applicable Statutory Proportionality Factor Under Title 18,
              United States Code, Section 3591(a)(2).

        With regard to Counts 4, 5, 16, and 17, the United States proposes to prove

that:

        1. The defendant, being at the time over 18 years of age, intentionally killed

the victims (18 U.S.C. § 3591(a)(2)(A));

        2. The defendant, being at the time over 18 years of age, intentionally

inflicted serious bodily injury that resulted in the death of the victims (18 U.S.C. §

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3591(a)(2)(B));

         3. The defendant, being at the time over 18 years of age, intentionally

participated in acts, contemplating that the life of a person would be taken or

intending that lethal force would be used in connection with a person, other than

one of the participants in the offenses, and the victims died as a direct result of

the acts (18 U.S.C. § 3591(a)(2)(C)); and

         4. The defendant, being at the time over 18 years of age, intentionally and

specifically engaged in one or more acts of violence knowing that the acts created

a grave risk of death to a person, other than one of the participants to the

offenses, such that participation in the acts constituted a reckless disregard for

human life and the victims died as a direct result of the acts (18 U.S.C. §

3591(a)(2)(D)).

         B.     Statutory Aggravating Factors Enumerated Under Title 18,
                United States Code, Section 3592(c).

         With regard to Counts 4, 5, 16, and 17, the United States proposes to

prove:

         1. Previous Conviction of Violent Felony involving Firearm. The

defendant has been convicted previously of assault with intent to inflict great bodily

harm less than murder (a 15-year state of Michigan felony) and felony firearm (a 2-

year state of Michigan felony) on July 13, 2007. (18 U.S.C. § 3592(c)(2)).


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      2. Grave Risk of Death to Additional Persons. The defendant knowingly

created a grave risk of death to one or more person in addition to the victims, D.P. and

D.R.-1. (18 U.S.C. § 3592(c)(5)); and

      3. Multiple Killings or Attempted Killings. The defendant attempted to

kill more than one person in a single criminal episode (18 U.S.C. § 3592(c)(l6)).

      With regard to Counts 16 and 17, the United States proposes to prove:

      Substantial Planning and Premeditation. The defendant committed the

offenses after substantial planning and premeditation to cause the death of D.R.-1

(18 U.S.C. § 3592(c)(9)).

         C.   Non-Statutory Aggravating Factors Under Title 18,
              United States Code, Section 3593(a)(2).

      With regard to Counts 4, 5, 16, and 17, the United States proposes to

prove:

      1. Lack of Remorse. The defendant has demonstrated a lack of remorse.

      2. Contemporaneous Conviction For Another Killing. The defendant

also participated in the killings of more than one victim and is subject to a

contemporaneous conviction, as part of this case.

                                                Respectfully submitted,

                                                MATTHEW SCHNEIDER
                                                UNITED STATES ATTORNEY



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Dated: January 8, 2018                    /s/ Christopher Graveline
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                           CERTIFICATE OF SERVICE

       I hereby certify that on January 8, 2018, I electronically filed the foregoing
document with the Clerk of the Court using the ECF system, which will send
notification of such filing to the following:


                                                 /s/ Christopher Graveline
                                                 Christopher Graveline (P69515)
                                                 Assistant United States Attorney




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